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                                                                   FILED
                                                                     JUN 19 2017
                                                                  Cieri<, U.S. District Court
                                                                     District Of Montana
                                                                            Helena



               IN T~E UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MONTANA

                              HELENA DIVISION

 UNITED STATES OF AMERICA,                       CR 17-07-H-SEH

                          Plaintiff,             ORDER

       vs.

 JEFF ALLEN TRASK,
 CHASE RYAN STORLIE,
 HECTOR RICARDO GONZALEZ,
 and CHRISTIAN JESUS RUIZ,

                          Defendants.

      Upon Ex Parte Petition for Writ of Habeas Corpus ad Testificandum by

Defendant Christian Jesus Ruiz, and good cause appearing therefor,

      ORDERED:

      The Clerk of this Court shall issue a Writ of Habeas Corpus, ad

Testificandum, directing the United States Marshal for the District of Montana, to

produce HECTOR GONZALEZ before the above-entitled Court at Courtroom I,

Paul G. Hatfield Courthouse, Helena, Montana, at 8:45 a.m. on July 17, 2017, to
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testify at the trial of Christian Jesus Ruiz, and upon conclusion of all proceedings

to be returned to the Crossroads Correctional Facility or other detention facility

designated by the Unitedj!ates Marshal.

      DATED this    __dd:;of June, 2017.

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                                               United States District Judge




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